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IN THE UNITED sTATEs DIsTRICT CoU"i'z'r 111.111 -:___
WESTERN DISTRICT 0F TENNESSEE_ P
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HOME DESIGN SERVICES, INC.,

VS.

 

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SPARKMAN HOME BUILDERS, LLC, CaSeNo. 03-2709 DP
DANNY J. SPARKMAN, RICHARD L.

TILLMAN, JAN M. TILLMAN, NICK C.

LIBERATORE and ROBIN L. LIBERATORE,

Defendants.

 

MOTION TO EXTEND DEADLINE FOR MEDIATION

 

 

Comes now the Defendants, Nick C. Liberatore and Robin L. Liberatore, by and
through their attorney of record, and respectfully moves this Court to extend the deadline for
mediation regarding this dispute based upon the following facts:

l. All parties mutually agreed upon mediation that was duly scheduled for May
31, 2005 before mediator Clifton Lipman. A conflict has arisen which prevented these
Defendants from being able to be in Memphis, Shelby County, Tennessee, on this mediation
date, necessitating cancellation of the scheduled mediation

2_ All parties are in agreement that mediation should be pursued and all parties

have agreed to be present and mediate the issues involved in this lawsuit on June 21, 2005

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before mediator Clifton Liprnan.

 

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WHEREFORE, PREMISES CONSIDERED, Defendants, Nick C. Liberatore and
Robin L. Liberatore, respectfully move this Court to extend the deadline regarding mediation

to allow the parties to complete mediation of this case on June 21, 2005.

Respectfully submitted7
KIRKPATRICK AND MOORE

/ _ f »¢¢- e_:>
S 0 T L. KIRKP RICK, III #7928
Attomey for Nick & Robin Liberatore
100 N. Main Bldg., Suite 2900
Memphis, TN 38103
(901) 523-2161

    
   

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The undersigned hereby certify that a true copy of the foregoing Motion to Extend
Tirne for Mediation has been mailed, via U.S. Mail, postage prepaid, to:

Mr. Jon D. Parrish, Esq. Ms. Lauren L. Holloway, Esq.
3431 Pine Ridge Rd., Suite 101 5100 Poplar Ave., Suite 501
Naples, FL 34109 Memphis, TN 38137

This 532 day of May, 2005

j

Scott L. Kirkpatfick, III

 

F TNNESSEE

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 57 in
case 2:03-CV-02709 was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

